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                           IN TH E IJNITED STATES DISTRICT CO URT
                          FOR TH E SO UTH ERN DISTRICT O F FLO RIDA

                                    CastN o.1:11-cv-24201-KM M

 OM EGA PA TEN TS,LLC,

          Plaintiff,

 VS.

 SKYPATROL,LLC,
 and ENFOM ,lNC.,

       Defendants.
                                                      /

                       O R DE R D ENY IN G IN PA R T D EFEN DA N T'S M O TIO N
                                TO SEV ER A N D TM N SFER V ENU E

       THIS CAUSE came before the Courtupon Defendant's M otion to Sever and Transfer

 Venue (ECF No.52). Plaintifffiled a Response(ECF No.60),Defendantfiled a Reply (ECF
 No.72),and Plaintifffiled a Slzr-Reply (ECF No.83). The Motion isnow ripe forreview.
 U PON CON SIDERATION ofthe M otion,Response Reply,Slzr-R eply,the pertinentportions of

 the Record,and being otherwise fully advised in the premises,this Courtentersthe following

 Order.

 I@ BACKG ROUNDI

       'rhe M otion to Sever and Transfer Venue currently before the Courtarises w ithin the

 contextofacivilaction forpatentinfringement.United StatesPatentNos.6,512,465;6,737,989;

 6,765,499;6,972,667;and 7,305,293 (collectively,tsthepatentsin question'),relate to various
 teclmologiesassociatedwith vehicletracking.PlaintiffOmegaPatents,LLC (çfomega'')isthe
 patent licensing arm of Om ega Research and D evelopm ent, lnc. Onaega does not have any


 lThe factsherein are taken from Defendant's M otion to TransferVenue;Plaintiffs Response;
 and D efendant'sReply.
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 oftk es in Florida,does notconductany businessin Florida,does nothave any employeeswho

 reside in Florida,and doesnototherwisehaveany contactsw1t11Floridawith the exception ofthe

 instant action. Defendant Enfora,Inc.is a Delaware corporation with its principalplace of

 businessin m chardson,Texas.DefendantSkypatrol,LLC,isaFloridalimited liability company

 and distributesseveralofEnfora'sproductsunderthe Skypatrolbrand nnm eto Latin America.

        On M arch 12, 2012, Omega filed an Amended Complaint (ECF No.45) against
 Defendants. The Com plaint alleges that Enfora and Skypatrol have sold vehicle tracking

 productsthatinfringe the patents in question. Specifically,the Com plaintallegesthatEnfora's

 ûçspider M T'' line of products, and Skypatrol's products bearing the names ççpassporq''

 t17--1-87505'' 1:-1--1-8760' :T -
                                 1-89509'' and GtRecover Plus,'' infringe the patents in question.

 Complicating m atters,Plaintiffalso alleges Skypatrol's products beming the nam es EETTI150''

 and t1TT1950''also infringePlaintiffspatents.These productsarem anufachlred by Third Party

 DefendantCalAmp Cop oration.

        Enfora now m otionsthis Courtto sever Enfora from the instantaction and transferthe

 severed action to the Emstern District of Texas,or alternatively,to the Northern District of

 Georgia.

 II.SEVEM NCE

        FederalRule ofCivilProcedure 21 providesthatççthe courtmay atany time,on just
 terms,add ordrop aparty. Thecourtmayalsoseverany claim againstaparty.''Atissueis(1)
 whether Plaintiffs claims against Skypatrolthat relate to products m anufacmred by Enfora

 should be severed because, as Enfora and Skypatrol both argue, Skypatrol is merely a

 downstrenm seller of Enfora's products and has no realconnection to Plaintiff s infringem ent
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 claims;and(2)whetherPlaintiffsclaimsagainstSkypatrolthatrelatetoproductsmanufactured
 byThirdPartyDefendantCalAmpshouldbeseveredinlightofpotentialmisjoinder.
        On September 16,2011,President Obnm a signed into law the Leahy-smith America

 lnventsAct,Pub.L.No.112-29,125Sut.2B4 (2011)(hereinafterthetûAmericanInventsAct'').
 TheAmtricaInventsAct,interalia,codiied anew setofrulesgovemingthejoindtrofparties
 in civilactions thrising under any Actof Congress relating to patents,''35 U.S.C.j 299.2

 PttrsuanttotheAmerican InventsAct,partiesaccused ofpatentinfringementmay bejoined in
 one action asdefendants,orhavetheiractionsconsolidated fortrial,only if

        (1)any rightto reliefis asserted againstthe partiesjointly,severally,orin the
        alternative with respectto or arising outofthe snme transaction,occurrence,or
        seriesoftransactionsoroccurrencesrelating to the making,using,importing into
        the United States,offering for sale,or selling of the snm e accused product or
        process;and

        (2)questionsoffactcommon to al1defendantsorcounterclaim defendantswill
        arise in the action.

 Title35U.S.C.j299.Partiesaccused ofpatentinfringementmaynotbejoinedççbasedsolelyon
 allegationsthatthey each haveinfringed thepatentorpatentsin suit.'' JJ= A party,how ever,
                                                                            .




 maywaivethelimitationsonjoinderwithrespecttothatparty.Id.
        Here,joinder of Enfora and Skypatrolsatisfies the conditions of 35 U.S.C. j 299.
 Plaintiffsclaim s for infringem entarise outofthe snm e series oftransaction oroccurrences in

 that Enfora m anufactures a productthat allegedly infringes the patents in question and then

 providesthe productto Skypatrol,who reconfigures,modifies,and rebrandsthe sam eproduct-
 using inform ation and docllm entation provided by Enfora- fordistribution under itsow n nam e.3



 2 W ith the exception ofan action in which an actofinfringem entunder35 U .S.C.j 271(e)(2)
 hasbeen alleged.
 3 Enfora alerts this Courtto a recent decision by the United States Courtof Appeals for the
 Federal Circuit wherein the Federal Circuit held that several companies- all accused of
                                               3
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 lnherentin thisrelationship are comm on questionsoffact, such asthe natureoftheguidance and

 m odificationsSkypatrolprovidesitsusersrelativeto the asserted claim sagainstEnfora, and the

 design and functionality of the product Enforce provides to Skypatrol. Severing Plaintiffs

 infringementclaimswouldnotpromotejudicialeconomy orredueeexpensesbutinsteadwould
 createtwo separatebutsimilarinfringem entactionswith thepotentialforinconsistentoutcom es.

 Thus,this Court denies Enfora's M otion to Sever to the extent it requests this Court sever

 Plaintiffsclaim sthatrelateto productsmanufacturedby Enfora.

        Ofseparateconcernistheappropriatenessofjoinderin lightofPlaintifpsclaimsagainst
 Skypatrolthat relate to products manufactured by Third Party Defendant CalAmp. Title 35

 U.S.C.j299 allowsforthejoinderoftwo partiesaccused ofpatentinfringementonly ifLnany
 righttoreliefisasserted againstthepartiesjointly,severally,orinthealternative.''Id.(emphasis
 added).ThisCourtinterpretsthepresenceoftheword ttany''toindicatethatso longasjoinderis
 appropriateforoneormoreclaims,misjoinderwillnotresultduetothepresenceofoneormore
 independent infringem ent claim s against only one of the defendants.      Thus, Enfora and

 Skypatrolare properly joined with respectto all claims contained in Plaintiffs Amended
 Complaint. An action forinfringem entagainstThird Party DefendantCalAmp, however,would

 result in misjoinder because joinder of Enfora and CalAmp would not satisfy the ttsame
 occurrence''orGYansaction''requirementcontained in 35 U.S.C.j 299. AsPlaintiffhmsnot
joinedCalAmpasadefendantintheinstantaction,thisCourtreservesrulingonEnfora'sM otion

 independently offering near identical services that infringed the sam e patent--could not be
joined in a single action because çtgtlhe snmenessofthe accused products isnotenough to
 establish thatclaims ofinfringem entarise from the tssm etransaction.''' In re EM C Corp.,677
F.3d 1351,102 U.S.P.Q.ZD (Fed.Cir.2012). Thedecision only appliesto actionsthatpredate
35U.S.C.j299. Even so,theinsfnntactionisdistinguishablefrom EM C becauseDefendants'
alleged infringem entstems from theirmanufacture and distribution ofthe sam e product, which
unlike the servicesoffered by defendants in EM C,did notresultby chance orcoincidence but
ratherthrough an established relationship between Defendants.
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 to Severto theextentitrequeststhisCourtseverPlaintiffsclaim sagainstSkypatrolthatrelateto

 productsm anufactured by CalAmp.

 111.TR AN SFER

        Having decided againstsevering theinstantaction,thisCourtnow addresseswhetherthe

 adion should nevertheless be transferred to the Sherman Division of the Eastem District of

 Texas. On December7,2011,PresidentObama signed into law The FederalCourtsJudsdiction

 and Venue Claritkation Actof2011(theç$Act''),and on Januat.
                                                           y 6,2012 the 1aw took effect.
 Thenew 1aw amends28U.S.C.j 1404(a)byinsertingthewordstçortoanydistrictordivisionto
 whichallpartieshaveconsented''attheendofthelastsentenceofj 1404(a). Pub.L.No.112-
 63,j204,125 Stat.758,764 (2011).Theamendmentpermitsdistrictcourtsto transferacivil
 action notonly to avenue where the action could originally have been broughtby the plaintiff,

 butalso to a venue to which a11parties have consented. The question of whetherto transfer

 venueisstillatwo-prongedinquiry,butthefirstprongisnow disjunctive. Thus,thealternative
 venue mustbe onein which theaction could originally havebeen broughtby theplaintifforone

 to which a1lparties have consented. The second prong requires Courts to balance private and

 publicfactorstodettrminewhetherornottransferisjustified.AstheActonlyappliestoactions
 comm enced on or after January 6,2012,the am endmentis inapplicable to the instnntcase and

 ptlrsuanttotheoperativeversion of28U.S.C.j 1404(a),thisColzrtmayonlytransfertheinstant
 action to theSherman Division oftheEastem DistrictofTexasiftheaction couldhaveoriginally

 been brought there by Plaintiff. Due to this Court's decision notto sever the inslmntaction,

 Plaintiffcould nothave originally initiated this adion in the Sherman Division ofthe Eastem

 DistrictofTexas because Skypatrol,as a Florida limited liability company,is notsubjectto



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 personaljurisdictionintheEasternDistrictofTexas.Consequently,transferisinappropriateand
 ananalysisofprivateand publicfactorsisunnecessary.

 IV.CONCLUSION

       Forthe foregoingreasons,itis

       ORDERED AN D ADJUDGED that the Defendant's M otion to Sever and Transfer

 Venue(ECFNo.52)isDENIED IN PART. ThisCourtdeniesDefendant'sM otionto Severto
 the extentitrequeststhis CourtseverPlaintiffs claim sthatrelateto products manufactured by

 Enfora. This Courtreserves ruling on Enfora's M otion to Severto the extentitrequests this

 CourtseverPlaintiff sclaim sagainstSkypatrolthatrelate to productsm anufactured by CalAmp.

 Dtfendant'sM otion to TransferisDENIED.

       DONEANDORDEREDinChambersatMiami,Florida,thisZ YayofJtme,2012.


                                                 K . ICH A M O R E
                                                    ITED STATES DISTRICT JUDGE

 cc:   A1lcolmselofrecord




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